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 7
 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
12 LUCAS R., et al.,                          Case No. 2:18-CV-05741 DMG PLA
13                   Plaintiffs,
                                              DECLARATION OF CARLOS HOLGUÍN IN
14         v.                                 SUPPORT OF EX PARTE APPLICATION
                                              FOR TEMPORARY RESTRAINING ORDER
15   ALEX AZAR, et al.,                       AND ORDER TO SHOW CAUSE RE:
                                              PRELIMINARY INJUNCTION
16                   Defendants.
                                              Hearing: None Set
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                                              Judge: Hon. Dolly M. Gee
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                                                     HOLGUÍN DECL. ISO EX PARTE APPLICATION FOR
                                                       TRO AND OSC RE: PRELIMINARY INJUNCTION
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                                                   TRO AND OSC RE: PRELIMINARY INJUNCTION
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1          I, Carlos Holguín, hereby declare:
2          1.      I am an attorney admitted to the bar of the United States District Court for
3    the Central District of California. I am one of the attorneys who serve as class counsel
4    for Plaintiffs in the above-captioned action. I am also one of the attorneys for the
5    plaintiff class in Flores v. Barr, No. 2:85-cv-04544-DMG-AGR. My business address
6    is 256 S. Occidental Blvd., Los Angeles, CA 90057. I execute this declaration in support
7    of Plaintiffs’ ex parte application for a temporary restraining order and order to show
8    cause re: preliminary injunction protecting Lucas R. class members from irreparable
9    injury during the COVID-19 national public health emergency. I declare that the
10   following statements are true to the best of my knowledge, information, and belief,
11   formed after reasonable inquiry of the circumstances. I have personal knowledge of the
12   facts set forth below and, if called as a witness, I could and would testify competently
13   as follows.
14         2.      Pursuant to ¶¶ 28 and 29 of the settlement approved in Flores in 1997, the
15   Office of Refugee Resettlement (“ORR”) provides Flores class counsel with statistical
16   reports on all juveniles in its custody. Among other things, these reports identify class
17   members, indicate in the name and type of facility in which they are detained, and
18   provide the date on which each juvenile came into ORR custody. ORR’s data do not
19   indicate whether juveniles have a family member or other potential custodian in the
20   United States available to receive them, nor do they indicate whether a potential
21   custodian has submitted a family reunification application seeking a given juvenile’s
22   release.
23         3.      The most recent statistical report indicates as of March 13, 2020, ORR had
24   3,622 children in custody, 1,193 of whom were in congregate settings after having been
25   in ORR custody for 30 days or more.
26         4.      In the course of representing Flores class members, in or about December
27   2018, I participated in a meeting at ORR’s Shiloh residential treatment center with ORR
28   representatives overseen by the Flores Special Master/Independent Monitor, Andrea
                                                         HOLGUÍN DECL. ISO EX PARTE APPLICATION FOR
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1    Sheridan Ordin. During the meeting, an ORR representative presented a PowerPoint
2    providing statistics regarding juveniles in ORR custody. At my request, defense counsel
3    in Flores later forwarded me a printout of the Shiloh PowerPoint presentation, a true
4    and correct copy of which is annexed as Exhibit O to this Declaration.
5           5.     On March 22, 2020, I sent a letter to counsel for Defendants outlining the
6    grave risk posed to Class Members by continuing to house them in congregate care as
7    well as the relief Plaintiff intended to request through an application for a TRO. On
8    March 23, 2020, I telephonically met and conferred with Benjamin M. Moss, Senior
9    Litigation Counsel for the Office of Immigration Litigation, one of the attorneys for the
10   Defendants in the above-entitled action,1 in an effort to obviate the need for Plaintiffs
11   to seek a temporary restraining order and to show cause re: preliminary injunction. I
12   advised counsel Moss of the substance of the attached ex parte application. I also
13   informed him that this application would be filed this week. Counsel Moss indicated on
14   the March 23, 2020 call that Defendants intended to oppose the ex parte application.
15          6.     On March 24, 2020, Defendants’ counsel wrote Plaintiffs and advised,
16   inter alia, that “ORR has stopped placements of UACs2 in the states of California, New
17   York, and Washington.” To date, Defendants have not taken any action to expedite
18   resolution of this dispute which is endangering the health and lives of children at ORR
19   facilities.
20          7.     Attached hereto as Exhibit A is a true and correct copy of the article by
21   Priscilla Alvarez and Catherine E. Shoichet, “First ICE detainee tests positive for
22   coronavirus,” CNN (Mar. 24, 2020), https://www.cnn.com/2020/03/24/us/ice-detainee-
23   coronavirus/index.html.
24          8.     Attached hereto as Exhibit B is a true and correct copy of the Declaration
25   of Dr. Julie DeAun Graves, dated March 24, 2020.
26
     1
27     Counsel Moss’ contact information is as follows: Office of Immigration Litigation,
     U.S. Department of Justice, Civil Division, P.O. Box 878, Ben Franklin Station,
28   Washington, DC 20044, (202) 307-8675, benjamin.m.moss2@usdoj.gov
     2
       “UACs” stands for Unaccompanied Children.
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1          9.    Attached hereto as Exhibit C is a true and correct copy of the Declaration
2    of Dr. Jaimie Meyer, dated March 15, 2020. This declaration was originally prepared
3    for use in Velesaca v. Decker, No. 1:20-cv-1803 (S.D.N.Y. Mar. 16, 2020), as well as
4    in O.M.G. et al. v. Wolf et al., No. 1:20-cv-00786 (D.D.C. Mar. 21, 2020), and is
5    reproduced with permission of the author.
6          10.   Attached hereto as Exhibit D is a true and correct copy of a letter to
7    Committee Chairpersons and Ranking Members of the United States Congress,
8    authored by Drs. Scott A. Allen and Josiah Rich, dated March 19, 2020, available at
9    https://whistleblower.org/wp-content/uploads/2020/03/Drs.-Allen-and-Rich-
10   3.20.2020-Letter-to-Congress.pdf.
11         11.   Attached hereto as Exhibit E is a true and correct copy of the Declaration
12   of Dr. Nancy Y. Wang, dated March 24, 2020.
13         12.   Attached hereto as Exhibit F is a true and correct copy of the Declaration
14   of Anthony Enriquez, Esq., dated March 24, 2020.
15         13.   Attached hereto as Exhibit G is a true and correct copy of the Declaration
16   of Hannah P. Flamm, Esq., dated March 24, 2020.
17         14.   Attached hereto as Exhibit H is a true and correct copy of the Declaration
18   of Rachel Rutter, Esq., dated March 23, 2020.
19         15.   Attached here to as Exhibit I is a true and correct copy of the Declaration
20   of Dr. Mira Zein, dated March 23, 2020.
21         16.   Attached hereto as Exhibit J is a true and correct copy of the Declaration
22   of Dr. Craig Haney, Ph.D, dated March 21, 2020.
23         17.   Attached hereto as Exhibit K is a true and correct copy of the email entitled
24   “COVID-19 INTERIM GUIDANCE FOR ORR PROGRAMS” and attachments, sent
25   by the Office of Refugee Resettlement, Unaccompanied Children’s Program, Division
26   of Health for Unaccompanied Children on March 13, 2020.
27         18.   Attached hereto as Exhibit L is a true and correct copy of the “Interim
28   Guidance on Management of Coronavirus Disease 2019 (COVID – 19) in Correctional
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1    and Detention Facilities, published by the Centers for Disease Control and Prevention
2    on March 23, 2020.
3          19.    Attached hereto as Exhibit M is a true and correct copy of the Office of
4    Refugee Resettlement “UAC Manual of Procedures (UAC MAP).”
5          20.    Attached hereto as Exhibit N is a true and correct copy of excerpts of the
6    Office of Refugee Resettlement Policy Guide, available at https://www.acf.hhs.gov/or
7    r/resource/children-entering-the-united-states-unaccompanied.
8          21.    Attached hereto as Exhibit O is a true and correct copy of the Shiloh
9    PowerPoint Presentation defense counsel in Flores sent to me.
10         22.    Attached hereto as Exhibit P is a true and correct copy of the Declaration
11   of James M. Owens, dated February 7, 2018.
12         I declare under penalty of perjury under the laws of the United States that the
13   foregoing is true and correct.
14         Executed on this 24th day of March, 2020, at Santa Clarita, California.
15                                          Respectfully submitted,
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                                                           Carlos Holguín
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                                                       HOLGUÍN DECL. ISO EX PARTE APPLICATION FOR
                                               4         TRO AND OSC RE: PRELIMINARY INJUNCTION
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